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                                     UNITED STATES DISTRICT COURT
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                               NORTHERN DISTRICT OF CALIFORNIA
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                                        SAN FRANCISCO DIVISION
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13   ANATOLY SOROKIN,                                  Case No. 3:21-cv-03576-WHO
14                      Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                       ADMINISTRATIVE MOTION
15          v.                                         REQUESTING AN ORDER
                                                       REQUIRING THE FILING OF
16   HDR GLOBAL TRADING LIMITED (d/b/a                 PLAINTIFF’S PROPOSED SECOND
     BitMEX); ABS GLOBAL TRADING                       AMENDED COMPLAINT
17   LIMITED; ARTHUR HAYES; and
     SAMUEL REED,
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                        Defendants.
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20          Having read and considered Defendants’ Administrative Motion, the response thereto, and

21   all pleadings and records in this action,

22          IT IS HEREBY ORDERED that:

23          1. Plaintiff shall file his Second Amended Complaint (“SAC”) on or before November

24               12, 2021;

25          2. Upon the filing of the SAC, Defendants shall have 35 days to file any motion to

26               dismiss or otherwise respond to the SAC, and the memorandum in support of any

27               motion to dismiss may be no longer than 35 pages;

28          3. Plaintiff shall have 35 days to oppose any motion to dismiss filed by Defendants,
                                                                       CASE NO. 3:21-cv-03576-WHO
                                                                [PROPOSED] ORDER RE: ADMIN. MOT.
       Case 3:21-cv-03576-WHO Document 28 Filed 11/08/21 Page 2 of 2



 1            which opposition may be no longer than 35 pages;

 2         4. Defendants shall have 21 days to reply to any opposition filed by Plaintiff, which reply

 3            may be no longer than 20 pages; and

 4         5. Plaintiff shall not amend nor seek to further amend his complaint unless, following a

 5            ruling on Defendants’ forthcoming motion to dismiss, leave to amend is granted by the

 6            Court, which Plaintiff may request.

 7   IT IS SO ORDERED.
 8   Dated: November 8, 2021
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10                                                   Hon. William H. Orrick
                                                UNITED STATES DISTRICT JUDGE
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                                                                       CASE NO. 3:21-cv-03576-WHO
                                                    2           [PROPOSED] ORDER RE: ADMIN. MOT.
